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                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
                                          Civil Minutes


 Date: April 21, 2020                                                  Judge: Hon. James Donato

 Time: 17 Minutes

 Case No.        C-18-7004-JD
 Case Name       Gevorkyan v. Bitmain Inc. et al

 Attorney(s) for Plaintiff(s):    Ari Basser, Jordan Laurie, Christopher Marlborough
 Attorney(s) for Defendant(s):    Carlos Lazatin, William Pao

 Deputy Clerk: Lisa R. Clark                                        Court Reporter: Not Reported

                                         PROCEEDINGS

Telephonic Discovery Hearing - Held

                                     NOTES AND ORDERS

The Court discusses with the parties the pending discovery dispute letters, Dkt. Nos. 47, 49, 50,
and the parties’ stipulated request regarding scheduling. Dkt. No. 51.

Defendant Bitmain HK’s request for discovery from plaintiff, Dkt. No. 47, is denied pending
further developments. It is plaintiff’s burden to establish the Court’s personal jurisdiction over
defendants, and the case law is clear that “it is the defendant’s conduct that must form the
necessary connection with the forum State that is the basis for its jurisdiction over him.” Walden
v. Fiore, 571 U.S. 277, 287 (2014).

On the parties’ scheduling request, Dkt. No. 51, plaintiff’s deadline to complete jurisdictional
discovery is extended to June 1, 2020. Plaintiff may seek an extension of that date only if there
is genuine good cause. The parties’ stipulation is otherwise denied.

So that the issue of personal jurisdiction can be resolved, plaintiff is directed to file a brief of
10 pages or less by June 11, 2020. Defendants are directed to file a response with the same page
limits by July 2, 2020. The Court will set a hearing if one is needed.
